




















NO. 07-11-0157-CV

&nbsp;

IN
THE COURT OF APPEALS

&nbsp;

FOR
THE SEVENTH DISTRICT OF TEXAS

&nbsp;

AT
AMARILLO

&nbsp;

PANEL
A

&nbsp;

AUGUST 15, 2011

______________________________

&nbsp;

&nbsp;

IN
RE JOHANSON LEE WATSON, RELATOR

&nbsp;

_________________________________

&nbsp;

ORIGINAL
PROCEEDING ARISING FROM PROCEEDINGS

BEFORE
THE 46TH DISTRICT COURT OF WILBARGER COUNTY;

NOS.
9479 &amp; 9480; HONORABLE DAN MIKE BIRD, JUDGE PRESIDING[1]


&nbsp;

_______________________________

Before CAMPBELL
and HANCOCK and PIRTLE, JJ.

MEMORANDUM OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; By this original proceeding, Relator, Johanson Lee Watson, an
inmate proceeding pro se and in forma pauperis, seeks a writ of
mandamus to compel the Honorable Juanita Pavlick,[2]
to hold a hearing and make findings regarding the results of a serology/DNA
report pursuant to article 64.04 of the Texas Code of Criminal Procedure.&nbsp; For the reasons expressed herein, we deny the
requested relief.

Background

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; In 1997, Relator was indicted for
sexual assault of a child in cause number 9479 and for burglary of a habitation
in cause number 9480.&nbsp; The charges were
enhanced with a prior burglary from 1987.&nbsp;
In exchange for dismissal of the burglary of a habitation charge,
Relator pleaded guilty to the sexual assault charge and was sentenced to twenty
years confinement.&nbsp; No direct appeal from
that conviction was filed.&nbsp; 

In 2006,
Relator pursued DNA testing and relief was denied by the trial court.&nbsp; He appealed to this Court.&nbsp; After this Court twice abated the appeals to
determine issues of indigence and appointment of counsel,[3]
Relator and the State entered into an agreement for voluntarily dismissal of
the appeals in exchange for DNA testing.&nbsp;
An order granting forensic DNA testing was entered on March 15, 2007, and the appeals were dismissed on March 29, 2007.&nbsp; See Watson v. State, Nos. 07-06-0414-CR and 07-06-0415-CR, 2007
Tex. App. LEXIS 2515 (Tex.App.--Amarillo March 29, 2007, no pet).&nbsp; A Nunc
Pro Tunc Order for Forensic DNA Testing was signed on September 7, 2007.&nbsp; 

The Texas Department of Public Safety
conducted DNA testing on vaginal swabs of the victim to compare the known DNA
of the Relator to that of the perpetrator of the sexual assault.&nbsp; On January 7, 2008, the Department generated
a Serology/DNA report in which it concluded that "Watson cannot be
excluded as a contributor to this profile."

On June 30, 2010, and
again on July 30, 2010, Relator filed motions in the trial court requesting a
hearing under article 64.04 of the Texas Code of Criminal Procedure which
provides:

[a]fter
examining the results of testing under Article 64.03, the convicting court shall hold a hearing and make a finding
as to whether, had the results been available during the trial of the offense,
it is reasonably probable that the person would not have been convicted.

&nbsp;

(Emphasis added).&nbsp; When
no hearing was held, Relator filed a Petition for Mandamus in this Court
requesting relief.&nbsp; This Court requested
a response to the petition from Respondent.&nbsp;
No response was filed; however, the trial court did schedule a hearing
to address Relator's motions.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; On June 10,
2011, a hearing was held.&nbsp; Appellant and
his appointed counsel were present.&nbsp; After
a brief hearing, the trial court ruled, "I do not find that had the DNA
results been available it is reasonably probable that [Relator] would not have
been convicted."&nbsp; The ruling was
memorialized in a document entitled "Findings on Motion for DNA
Testing" and filed with the trial court clerk on June 21, 2011.

Mandamus
Standard of Review

Mandamus
relief is an extraordinary remedy.&nbsp; In
re Southwestern Bell Telephone Co., L.P., 235 S.W.3d 619, 623 (Tex.
2007) (orig. proceeding). &nbsp;"Mandamus issues only to correct a
clear abuse of discretion or the violation of a duty imposed by law when there
is no other adequate remedy by law.@&nbsp; Walker v. Packer, 827 S.W.2d 833, 839
(Tex. 1992) (orig. proceeding) (quoting Johnson v. Fourth Court of Appeals,
700 S.W.2d 916, 917 (Tex. 1985) (orig. proceeding).&nbsp; To show entitlement to mandamus relief, a
relator must satisfy three requirements: (1) a legal duty to perform; (2) a
demand for performance; and (3) a refusal to act.&nbsp; Stoner v. Massey,
586 S.W.2d 843, 846 (Tex. 1979).

Discussion

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Relator now
has a ruling on the two motions that were pending in the trial court.&nbsp; Any dissatisfaction with the ruling is not
the proper subject of a mandamus proceeding but may be remedied by ordinary
appeal.&nbsp; See In re Washington, No. 09-07-00246-CV, 2007 Tex. App. LEXIS
6449, at *2 (Tex.App.--Beaumont Aug. 16, 2007, orig. proceeding).&nbsp; Consequently, his request for relief is rendered
moot and the petition for writ of mandamus is denied.

&nbsp;

Patrick A. Pirtle

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;Justice

&nbsp;











[1]Judge
Bird was the District Attorney for Wilbarger County when Relator was charged
with the offenses alleged in Cause Nos. 9479 and 9480 and he voluntarily
recused himself from proceedings related to those cause numbers.&nbsp; 

&nbsp;





[2]Sitting by assignment.&nbsp;
Tex. Gov't Code Ann. § 75.002(a)(3) (West
2005).





[3]Watson v. State, Nos.
07-06-0414-CR, 07-06-0415-CR, 2007 Tex. App. LEXIS 811 (Tex.App.--Amarillo Feb.
2, 2007, no pet.), and Watson v. State,
Nos. 07-06-0414-CR, 07-06-0415-CR, 2007 Tex. App. LEXIS 10002 (Tex.App.--Amarillo
Nov. 16, 2006, no pet.).

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